         Case 2:11-cr-00396-APG-PAL             Document 94         Filed 04/20/12      Page 1 of 2



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 4                                   UNITED STATES DISTRICT COURT
 5                                           DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                                 Plaintiff,  )                    Case No. 2:11-cr-00396-KJD-PAL
                                               )
 9   vs.                                       )                                    ORDER
                                               )
10   JUAN FRANCISCO ORTEGA-DAVILA,             )
                                               )
11                                 Defendant.  )
     __________________________________________)
12
13          Before the court is a letter (Dkt. #92) addressed to the district judge and Attorney Brett Whipple
14   from Defendant Juan Francisco Ortega-Davila. The letter indicates that the Defendant has “decided to
15   keep you has counsel in this case.”
16          On March 2, 2012, a substitution of attorneys (Dkt. #87) was filed seeking to substitute Steven
17   J. Karen in place and instead of Bret Whipple as attorney for the Defendant in this matter. Both
18   attorneys and the Defendant signed the substitution of Mr. Karen as retained counsel in place of Mr.
19   Whipple. The court entered an Order (Dkt. #88) approving the substitution subject to the requirements
20   of LR IA 10-6(d) which provides that the substitution of an attorney “shall not alone be reason for delay
21   of pretrial proceedings, discovery, the trial or any hearing in this case.” Trial in this case is set for May
22   7, 2012, at 9:00 a.m., with a Calendar Call on May 1, 2012. No other substitution of attorneys has been
23   filed. LR IA 10-6(a) provides that:
24          A party who has appeared by attorney can not while so represented appear or act in the
            case. An attorney who has appeared for a party shall be recognized by the Court and all
25          of the parties as having control of the client’s case. The court in its discretion may hear
            a party in open Court even though the party is represented by an attorney.
26
27          Additionally, LR 10-6(b) precludes Mr. Whipple from appearing in this case except by leave of
28   court after notice has been served on the effected client and opposing counsel, and LR IA 10-6(c)
         Case 2:11-cr-00396-APG-PAL            Document 94         Filed 04/20/12      Page 2 of 2



 1   requires that any substitution of attorneys shall be by leave of court and by the signatures of the
 2   attorneys and the client represented. In short, the Defendant has counsel of record, Mr. Karen. He may
 3   not substitute Mr Whipple for Mr Karen by writing a letter.
 4          IT IS ORDERED, to the extent the letter (Dkt. #92) is an attempt to substitute Mr. Whipple for
 5   Mr. Karen, the request is DENIED.
 6          Dated this 20th day of April, 2012.
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 8                                                         ______________________________________
                                                           Peggy A. Leen
 9                                                         United States Magistrate Judge
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